364 F.2d 908
    Raphael J. CHERVY and Dorothy E. Chervy, Appellants,v.PENINSULAR AND ORIENTAL STEAM NAVIGATION COMPANY, Ltd., andCity of LongBeach, California, Appellees.PENINSULAR AND ORIENTAL STEAM NAVIGATION COMPANY, Ltd., Appellants,v.Raphael J. CHERVY and Dorothy E. Chervy, Appellees.
    No. 20029.
    United States Court of Appeals Ninth Circuit.
    Aug. 15, 1966.
    
      Musick, Peeler &amp; Garret, Michael W. Conlon, Los Angeles, Cal., for appellants.
      Graham, James &amp; Rolph, Reed M. Williams, Don A. Proudfoot, Jr., Long Beach, Cal., for appellee.
      Before CHAMBERS, BARNES and DUNIWAY, Circuit Judges.
      PER CURIAM:
    
    
      1
      We are of the opinion that the court's finding, reading as follows:
    
    
      2
      'That respondent, PENINSULAR, was negligent in that the last warning broadcast failed to specifically warn that the preparations to land the gangway would commence prior to midnight, which preparations would make it dangerous for visitors to delay their disembarkation, by reason whereof visitors could have concluded that the gangway would be in the same condition immediately prior to midnight as it had been earlier.'
    
    
      3
      is clearly erroneous.  As is stated elsewhere in the findings, the steamship company, at 11 o'clock, began broadcasting warnings over the public address system that the vessel would depart at midnight, and advising visitors to disembark.  Such warnings do not purport to describe the conditions under which the visitors will disembark and we think that there is no duty on the steamship company to give such advice as a part of such a warning.
    
    
      4
      The court found that the steamship company was not otherwise negligent and we are of the opinion that that finding was not clearly erroneous.  It follows that the judgment in favor of the steamship company must be affirmed, since it was not negligent.  It is unnecessary that we consider the validity of the waiver signed by Chervy on which the trial court relied in giving judgment for the steamship company, or the other questions presented in the briefs.
    
    
      5
      Affirmed.
    
    